   Case: 1:24-cv-00007 Document #: 33 Filed: 02/13/24 Page 1 of 2 PageID #:1366




                            IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

     TOHO CO., LTD.,

               Plaintiff,                                       Case No. 1:24-cv-00007

     v.                                                         Judge John F. Kness

     THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Young B. Kim
     ASSOCIATIONS IDENTIFIED ON SCHEDULE
     “A”,

               Defendants.

                                     NOTICE OF DISMISSAL

          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                    DEFENDANT
                  16                                       top1toy
                   5                                        fyl655
                  17                                  toyparadise2017_9
                  39                                 DLV T&S CO.,LTD
                  30                                    bulk small gift
                  91                          Shenzhen Zhenqian Trading Co., Ltd.
                 109                                      UPOMM


DATED: February 12, 2024                               Respectfully submitted,

                                                       /s/ Keith A. Vogt
                                                       Keith A. Vogt (Bar No. 6207971)
                                                       Keith Vogt, Ltd.
                                                       33 W. Jackson Blvd., #2W
                                                       Chicago, Illinois 60604
                                                       Telephone: 312-971-6752
                                                       E-mail: keith@vogtip.com

                                                       ATTORNEY FOR PLAINTIFF
    Case: 1:24-cv-00007 Document #: 33 Filed: 02/13/24 Page 2 of 2 PageID #:1367




                                CERTIFICATE OF SERVICE


       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on February 12, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
